 Case 5:18-cv-00347-JKP   Document 25   Filed 09/20/18   Page 1 of 4




                    UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                        SAN ANTONIO DIVISION

MISSION TOXICOLOGY, LLC, and SUN        §     No. 5:17-CV-1016-DAE
CLINICAL LABORATORIES, LLC,             §
                                        §
      Plaintiffs,                       §
                                        §
vs.                                     §
                                        §
UNITEDHEALTHCARE INSURANCE              §
COMPANY, UNITEDHEALTHCARE OF            §
TEXAS, INC., and UNITED                 §
HEALTHCARE SERVICES INC.,               §
                                        §
      Defendants.                       §
                                        §
                                        §
UNITEDHEALTHCARE INSURANCE              §    No. 5:18-CV-347
COMPANY, INC., and                      §
UNITEDHEALTHCARE SERVICES,              §
INC.,                                   §
                                        §
      Plaintiffs,                       §
                                        §
vs.                                     §
                                        §
MICHAEL MURPHY, M.D., JESSE             §
SAUCEDO, JR., SAMANTHA MURPHY,          §
LYNN MURPHY, JULIE PRICER,              §
MISSION TOXICOLOGY, LLC, SUN            §
CLINICAL LABORATORY, LLC, SUN           §
ANCILLARY MANAGEMENT, LLC,              §
INTEGRITY ANCILLARY                     §
MANAGEMENT, LLC, ALTERNATE              §
HEALTH LAB, INC., and LMK               §
MANAGEMENT, LLC,                        §
                                        §
      Defendants.                       §
                                        §
    Case 5:18-cv-00347-JKP    Document 25      Filed 09/20/18     Page 2 of 4




         ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND
    RECOMMENDATION (Dkt. # 42)'; AND DENYING WITHOUT PREJUDICE
       TO REFILING PENDING MOTIONS TO DISMISS (Dkts. ## 38. 172)

              Before the Court is a Report and Recommendation ("Report") filed by

United States Magistrate Judge Richard B. Farrer on August 7, 2018. (Dkt. # 42.)

The Report recommends consolidating the above entitled cases, Civil Action Nos.

5:1 7-CV- 101 6-DAE and 5:1 8-CV-347-DAE for all pretrial proceedings, including

discovery. The parties had fourteen (14) days to file written objections to the

Report, but neither party did so.      28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b).

Where, as here, neither party objects to the Magistrate Judge's findings, the Court

reviews the Report for clear error. United States v. Wilson, 864 F.2d 1219, 1221

(5th Cir. 1989).

              After careful consideration and review, the Court ADOPTS IN FULL

the Magistrate Judge's Report. (Dkt. # 42.) In adopting the Report's

recommendation, the Court is not "left with the definite and firm conviction that a

mistake has been committed," which would otherwise warrant reversal under clear

error review. See Barto v. Shore Const., L.L.C., 801 F.3d 465, 471 (5th Cir. 2015)

(internal quotations and citation omitted).

'Unless otherwise noted, all citations to the docket refer to the lead case, 5:17-C V-
1016-DAE. The Magistrate Judge's Report and Recommendation can be found at
docket # 24 in the related case, 5:1 8-CV-00347-DAE.
2
 This docket citation refers to the pending Motion to Dismiss filed on May 15,
2018 in 5:18-CV-00347-DAE.

                                          2
Case 5:18-cv-00347-JKP         Document 25      Filed 09/20/18    Page 3 of 4




             Further, in light of the Court's consolidation of these cases for pretrial

purposes, the Court DISMISSES WITHOUT PREJUDICE TO REFILING the

pending Motions to Dismiss in each case. (Dkts. ## 38, 17.) The parties shall

have twenty-one (21) days from the entry of this order to refile motions to dismiss,

should they choose to do so.

                                   CONCLUSION

             For the reasons set forth, the Court: (1) ADOPTS IN FULL the

Magistrate Judge's Report (Dkt. # 42.); (2) DISMISSES WITHOUT

PREJUDICE TO RIEFILING Defendants Motion to Dismiss in 5:1 7-CV- 1016-

DAE (Dkt. # 38); and (3) DISMISSES WITHOUT PREJUDICE TO

REFILING Defendants Motion to Dismiss in 5:1 8-CV-347-DAE (Dkt. # 17). The

parties shall have twenty-one (21) from the entry of this order to refile their

motions to dismiss.

             Accordingly, the Court ORDERS that Mission Toxicology et al. v.

UnitedHealthcare Insurance Company, Inc. et al., 5:1 7-CV- 101 6-DAE, be

consolidated with UnitedHealthcare Insurance Company, Inc. et al. v. Murphy,

M.D. et al., No. 5:1 8-CV-347-DAE, for all pretrial purposes, including discovery.

As the first-filed case, Civil Action No. 5:17-CV-1016-DAE will serve as the lead




 This docket citation refers to the pending Motion to Dismiss filed on May 15,
2018 in 5:18-CV-00347-DAE.
Case 5:18-cv-00347-JKP     Document 25     Filed 09/20/18   Page 4 of 4



case. The Court DIRECTS the parties to make any subsequent filings in the lead

case, 5:18-CV-1016-DAE.


            IT IS SO ORDERED.

            DATED: San Antonio, Texas, SeptemberQ,2O 18.



                                         Davi5A1 Ezra
                                         Senior United States District Judge
